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Attorneys for Defendants

                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION

 JOSH WORTHINGTON,
                                                  JOINT STIPULATION OF DISMISSAL
        Plaintiff,                                        WITH PREJUDICE

 vs.

 FOREST RIVER, INC., and INDY AUTO                    Case No. 2:19-cv-00584-HCN-DAO
 CENTER, INC. doing business as INDY RV,
 and DEFENDANT DOES I-XV,                                 Judge Howard C. Nielson, Jr

        Defendants.                                    Magistrate Judge Daphne A. Oberg

       Plaintiff Josh Worthington, and Defendants Forest River, Inc., and Indy Auto Center, Inc.

doing business as Indy RV, by their respective counsel and under Federal Rule of Civil Procedure

41(a), stipulate to a dismissal, with prejudice, of all claims made in this action against the

Defendants with each party to bear their own fees and costs.
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Respectfully submitted,


 By: /s/ Jared L. Bramwell                    By: /s/ Sarah Elizabeth Spencer
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